Case 3:21-cv-01980-CAB-JLB Document 7 Filed 11/23/21 PageID.173 Page 1 of 3



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  9                        UNITED STATES DISTRICT COURT
 10               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 11
      PFIZER INC.,
 12                                                 Case No. 3:21-cv-01980-CAB-JLB
                                       Plaintiff,
 13                                                 ORDER TO SHOW CAUSE AND
                   - against -                      TEMPORARY RESTRAINING
 14                                                 ORDER
      CHUN XIAO LI and DOES 1-5,
 15
                                   Defendants.
 16

 17
            Presently before the Court is Plaintiff Pfizer Inc.’s Ex Parte Motion for
 18
      Temporary Restraining Order and Order to Show Cause for Preliminary Injunction
 19
      [Doc. No. 2 and 4], by which Plaintiff seeks to:
 20
            (a)    Enjoin Ms. Chun Xiao Li from further using, disclosing, or
 21
      transmitting Pfizer’s confidential information or trade secrets;
 22
            (b)    Enjoin Ms. Li from destroying, manipulating, or otherwise altering
 23
      any of Pfizer’s confidential information and trade secrets in her possession,
 24
      including any electronic information such as metadata that shows last access-date
 25
      and creation date; and
 26
            (c)    Direct Ms. Li to provide Pfizer’s outside counsel with attorneys-eyes-
 27
      only access to (i) her personal Google Drive account(s), (ii) any and all computing
 28
      devices in her possession, custody, and control, and (iii) to any other account or

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                                                                  ORDER TO SHOW CAUSE
Case 3:21-cv-01980-CAB-JLB Document 7 Filed 11/23/21 PageID.174 Page 2 of 3



  1   device on which she may have stored Pfizer’s confidential information or trade
  2   secrets, as well as to return any hard copy documents containing Pfizer’s
  3   confidential information or trade secrets.
  4           Having reviewed the materials submitted, the Court GRANTS Plaintiff’s Ex
  5   Parte Motion as set forth below. Accordingly, until after the Court holds a hearing
  6   as to whether a preliminary injunction should issue, Defendant is
  7   TEMPORARILY RESTRAINED from:
  8           (1) further using, disclosing, or transmitting Pfizer’s confidential information
  9              or trade secrets;
 10           (2) destroying, manipulating, or otherwise altering any of Pfizer’s
 11              confidential information and trade secrets in her possession, including
 12              any electronic information such as metadata that shows last access-date
 13              and creation date;
 14           (3) destroying or disposing of any computer devices on which she may have
 15              stored Pfizer’s confidential information or trade secrets, and
 16           (4) is ordered to return any hard copy documents containing Pfizer’s
 17              confidential information or trade secrets.
 18           Plaintiff SHALL SERVE Defendant with this Order to Show Cause and
 19   supporting papers (including the complaint and ex parte motion) by November 24,
 20   2021.
 21           Defendant SHALL FILE an opposition to the OSC and Plaintiff’s Ex Parte
 22   Application on or before December 2, 2021.
 23           Plaintiff MAY FILE a reply, if any, on or before December 6, 2021.
 24   /////
 25   /////
 26   /////
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                                                                    ORDER TO SHOW CAUSE
Case 3:21-cv-01980-CAB-JLB Document 7 Filed 11/23/21 PageID.175 Page 3 of 3



  1        The Parties SHALL APPEAR for a preliminary injunction hearing at 10:00
  2   a.m. on December 9, 2021, in Courtroom 15A, 333 W. Broadway, San Diego, CA
  3   92101.
  4        IT IS SO ORDERED.
  5   Dated: November 23, 2021
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                                                           ORDER TO SHOW CAUSE
